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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA, and       )
   THE OSAGE MINERALS COUNCIL,         )
                                       )
                Plaintiffs,            )
                                       )
   vs.                                 )     Case No. 14-CV-704-GKF-JFJ
                                       )
   OSAGE WIND, LLC;                    )
   ENEL KANSAS, LLC; and               )
   ENEL GREEN POWER NORTH              )
   AMERICA, INC.,                      )
                                       )
                Defendants.            )



                        DEFENDANTS’ FIRST MOTION TO COMPEL
                        AGAINST THE OSAGE MINERALS COUNCIL



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                                       ATTORNEYS FOR DEFENDANTS,
                                       OSAGE WIND, LLC, ENEL KANSAS, LLC
                                       AND ENEL GREEN POWER NORTH
                                       AMERICA, INC.
   Dated: August 18, 2020
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             In accordance with FED. R. CIV. P. 37(a)(3)(A), FED. R. CIV. P. (a)(3)(B)(iii) and (iv) and

   LCvR 37.1, Defendants, Osage Wind, LLC (“Osage Wind”), Enel Kansas, LLC (“Enel Kansas”),

   and Enel Green Power North America, Inc. (“EGPNA”), respectfully request that the Court enter

   an Order requiring the Intervenor–Plaintiff, the Osage Minerals Council (the “OMC”) (i) to

   provide detail as to its damages theory (or theories) against the Defendants, and (ii) to produce the

   documents it has withheld as purportedly subject to an executive privilege not cognizable in this

   Court (and not claim such a privilege in the future in this action).

                                               BACKGROUND

             The essential background of this matter is summarized in the Osage Wind’s pending First

   Motion to Compel Against the United States, and the Defendants respectfully invite the Court to

   examine that brief to the extent such background is needed to adjudicate this Motion. (See Dkt. #

   177, at ¶¶ 1-25).

             In addition to that background, following remand from the Tenth Circuit, this Court granted

   the OMC leave to intervene on April 13, 2020. (Dkt. # 136). The OMC filed its Complaint in

   Intervention (“CIR”) on April 15, 2020. (Dkt. # 140). In response, the Defendants filed a partial

   motion to dismiss the CIR (Dkt. # 150) and a motion to strike certain allegations of the CIR (Dkt.

   # 151).

             Judge Frizzell granted those motions in part and denied them in part and as to the OMC

   found as follows:

             Prior to considering the merits of the partial motion to dismiss, however, the court
             clarifies its April 13, 2020 Minute Order granting OMC’s motion to intervene.
             [Doc. 136].

             ***

             Here, efficiency in the conduct of the proceedings requires that the remedies sought
             by OMC be limited to those sought by the United States in its First Amended
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          Complaint. As discussed above, permitting the United States to pursue revenues
          from the wind farm operation as a whole, at this stage of the litigation, would
          require extensive and expensive discovery and unduly prejudice Osage Wind. The
          same prejudice and inefficiencies would result if OMC were allowed to pursue
          those remedies. Thus, although the court has granted OMC’s motion to intervene,
          the intervention is restricted to seek only those remedies sought by the United
          States in the First Amended Complaint.

   (Dkt. # 161, at 13-15, emphasis added; see also Dkt. # 162 (striking “(1) allegations regarding non-

   parties to the litigation, (2) allegations directed to revenue of the Osage Wind Project as a whole

   and other financial information, [and] (3) allegations regarding public harms allegedly associated

   with wind energy”)). As a result of the latter Order, the OMC filed an Amended Complaint in

   Intervention. (Dkt. # 164) (the “ACIR”).

          On April 14, 2020, Judge Frizzell found that the U.S. “is barred from proceeding further in

   this case.” (Dkt. # 139). Thereafter, the OMC and the Defendants’ counsel held a FED. R. CIV.

   P. 26(f) on April 21, 2020, and a follow-up conference was held on April 30, 2020. During those

   conferences, the parties agreed that the OMC would provide initial disclosures by May 12, 2020.

          In its ACIR, the OMC alleges that:

             “Defendants trespassed on the Osage Mineral Estate, in violation of law and, in doing

              so, caused damages.” (Dkt. # 164, at ¶ 86).

             It is entitled to “a judgment assessing damages or providing any appropriate remedy—

              whether monetary or sounding in equity—as determined, to the Osage Mineral Estate

              for unlawful or unauthorized mining, excavation, or other work . . . .” (Id. at ¶ 98).1

             It is entitled to “a judgment awarding damages, with interest, to the [OMC] for trespass

              to the extent allowed under the law . . . .” (Id. at ¶ 100).




   1
    The OMC asserts that all Defendants are jointly and severally liable for such alleged damages
   and monetary relief. (See, e.g., id. at ¶ 99).
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                                      DISPUTED DISCOVERY ISSUES

           The OMC served its initial disclosures on May 12, 2020 as agreed. (Copy attached as

    Exhibit A). For the section of its initial disclosures detailing its “[c]omputation of damages,” the

    OMC stated as follows:

           As a result of the court granting the OMC’s motion to intervene on April 13, 2020,
           the OMC is in the initial stages of computing each category of remedies, and the
           documents or other evidentiary material on which each computation is based that
           must be available for inspection and copying required under Rule 34 are still being
           identified. Accordingly, the OMC will supplement this disclosure with
           computations of damages, along with documents and/or evidentiary support for
           these computations, as they become available.

    (Exh. A, at 2-3).

           On April 23, 2020, the Defendants served Interrogatories and Requests for Production on

    the OMC. (Copy attached as Exhibit B). The OMC responded to those discovery requests on June

    2, 2020. (Copy attached as Exhibit C). As it relates to damages, and in response to Defendants’

    Interrogatory No. 12, the OMC responded as follows:

           Interrogatory No. 12: Identify and describe in detail all damages or injuries you
           claim the Osage Minerals Council has sustained as a result of the actions of
           Defendants complained of in your Complaint including without limitation:

               (a) the dollar amount(s) of any compensatory damages you claim, and (i)
               the factual bases that support your claims, and (ii) how such damages were
               or will be calculated;

               (b) the dollar amount(s) of any other monetary relief of any kind (including,
               but not limited to, any disgorgement or other monetary equitable relief) you
               claim, and (i) the factual bases that support your claims, and (ii) how such
               monetary relief was or will be calculated; and,

               (c) any nonmonetary equitable relief you claim, (including, but not limited
               to the specific terms of any permanent injunctive or other equitable relief
               you may claim).

           Response No. 13: Subject to the General Objections and without waiving the same,
           Intervenor-Plaintiff responds that the documents that Intervenor-Plaintiff needs to
           calculate with accuracy the damages in this matter are in the possession, control

                                                     3
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           and custody of the Defendants, and Defendants have yet to produce them. In
           addition to monetary damages, Intervenor-Plaintiff is entitled to equitable relief,
           including but not limited to ejectment, an accounting, a permanent injunction,
           and/or disgorgement of Defendants’ profits from the wind farm, as well as any other
           form of relief the Court deems just.

    (Exh. C, at 10-11). Plainly, this response includes no computation of damages, or even any

    description of how the OMC’s alleged damages will be calculated.

           As it relates to the issue of executive privilege, the OMC’s responses include the following:

           Interrogatory No. 6: Identify all Communications between you and the Osage
           Nation regarding the Osage Wind Project from January 1, 2010, to the present.

           Response No. 6: Intervenor-Plaintiff objects to this Interrogatory as it is overly
           broad, vague, and not reasonably calculated to lead to the discovery of admissible
           evidence. Intervenor-Plaintiff further objects to the extent such information is
           protected by attorney-client privilege, the work product immunity doctrine, or both.
           Finally, Intervenor-Plaintiff objects to the Request as it seeks the production of
           Communications with the Osage Nation that are protected by executive privilege
           and the Osage Nation Code, tit. 15 ch. 8 § 8–104 (a)(5, 11). Subject to the General
           Objections and without waiving the same, Intervenor-Plaintiff responds that it will
           identify all relevant, non-privileged Communications that are discovered after
           undertaking a reasonable search of the documents within Intervenor-Plaintiff’s
           possession.

           ***

           Request No. 2: Produce all Communications between you and the Osage Nation
           regarding the Osage Wind Project from January 1, 2010, to the present.

           Response No. 2: Plaintiff-Intervenor objects to this Request to the extent that it
           seeks Communications reflecting attorney-work product or containing attorney-
           client privileged communications. Finally, Intervenor-Plaintiff objects to the
           Request as it seeks the production of Communications with the Osage Nation that
           are protected by executive privilege and the Osage Nation Code, tit. 15 ch. 7 § 8–
           104 (a)(4)(B)(5, 11).

           ***

           Request No. 13: Produce all Communications between you and the Osage Nation
           regarding the authority of the Osage Minerals Council over the leasing or
           permitting of minerals in Osage County from January 1, 2001 to the present.




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           Response No. 13: Intervenor-Plaintiff objects to this Request as it calls for
           discovery on a legal conclusion, not subject to factual analysis. Intervenor-Plaintiff
           further objects to the extent that Defendants seek information or communications
           that contain privileged attorney work product or reflect privileged attorney-client
           communication. Finally, Intervenor-Plaintiff objects to the Request as it seeks the
           production of Communications with the Osage Nation that are protected by
           executive privilege and the Osage Nation Code, tit. 15 ch. 7 § 8–104 (a)(4)(B)(5,
           11).

           Request No. 14: Produce all Communications between you and the Osage Nation
           concerning the current litigation.

           Response No. 14: Intervenor-Plaintiff objects to this Request as it is overly broad,
           vague, and not reasonably calculated to lead to the discovery of admissible
           evidence. Intervenor-Plaintiff further objects to the extent such communications
           that are protected by attorney-client privilege, the work product immunity doctrine,
           or both. Finally, Intervenor-Plaintiff objects to the Request as it seeks the
           production of Communications with the Osage Nation that are protected by
           executive privilege and the Osage Nation Code, tit. 15 ch. 7 § 8–104 (a)(4)(B)(5,
           11).

    (Exh. C, at 6-7, 13, 18-19). The OMC’s privilege log identifies two documents as being withheld

    under this “executive privilege.” (See id. at 28).

           On July 2, 2020, counsel for the Defendants wrote to counsel for the OMC via e-mail

    regarding the status of the OMC’s discovery obligations.2 (July 2, 2020 E-mail from Lynn Slade,

    copy attached as Exhibit D). The OMC responded on July 6, 2020 indicating continuing logistical

    delays due to the July 4th holiday and the ongoing pandemic. (July 6, 2020 E-mail from Mary

    Kathryn Nagle, copy attached as Exhibit E). On July 24, 2020, counsel for the Defendants wrote

    to counsel for the OMC explaining the issues with the failure to compute or describe damages and

    the improper assertion of executive privilege. (July 24, 2020 Letter from Lynn Slade to Mary

    Kathryn Nagle, copy attached as Exhibit F).




    2
     Earlier in June, counsel for the OMC indicated that complications arising from the COVID-19
    pandemic had delayed the OMC’s ability to fully respond to discovery. As of the filing of this
    Motion, the OMC has produced sixty hundred fifty two (652) pages of documents.
                                                     5
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                                      CERTIFICATION OF CONFERENCE

           In accordance with FED. R. CIV. P. 37(a)(2)(A) and LCvR. 37.1, Osage Wind advises the

    Court that its counsel, Ryan A. Ray and Lynn H. Slade, conferred in good faith with counsel for

    the OMC, Wilson Pipestem and Mary Kathryn Nagle, via telephone on July 29, 2020.

           During that call, the OMC’s counsel expressed a desire to review the issues discussed, and

    which are at issue in this Motion, in further detail. The Defendants’ counsel sent a follow-up letter

    regarding the issues on August 11, 2020. (August 11, 2020 Letter from Lynn Slade to Mary

    Kathryn Nagle, copy attached as Exhibit G). The OMC’s counsel responded on August 12, 2020

    and stated:

                     “[T]he OMC maintains its assertion of the executive privilege.” (August 12, 2020

                      Letter from Mary Kathryn Nagle to Lynn Slade, copy attached as Exhibit H, at 1).

                     As for the issue of damages, the OMC stated:

                             As discussed during our July 29th meet and confer, the OMC has
                             repeatedly shared its theory of damages in this case with
                             Defendants. See, e.g., Dkt. 166, 3 (“In addition to equitable relief in
                             the form of a permanent injunction and ejectment/removal, the
                             OMC is also entitled to compensation for damages in an amount that
                             will cover the financial harm to the Osage Mineral Estate, and Osage
                             headright holders, from the obstruction to oil and gas drilling on the
                             Estate caused by Defendants’ ongoing trespass. To date, Defendants
                             have not obtained the permits the Tenth Circuit stated they must
                             obtain, and they continue to operate their wind farm unlawfully on
                             the Osage Mineral Estate.”); Dkt. 158, 8 (noting that the OMC seeks
                             “monetary damages and equitable relief for trespass to Indian lands
                             in order to ‘“reimburse the Tribe for the most profitable use of its
                             land.”’) (quoting United States v. Pend Oreille Pub. Util. Dist. No.
                             1, 28 F.3d 1544, 1551 (9th Cir. 1994)). Intervenor-Plaintiff’s theory
                             of damages is no mystery and there is certainly, at this point, no
                             suspense as to what remedies the OMC will pursue. To the extent
                             that Defendants seek an exact dollar figure as to what the OMC
                             might be able to recover in terms of monetary damages, such
                             information is within the scope of expert reports and will be
                             disclosed in due time, in accordance with the Court’s scheduling


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                          Order. See Dkt. 172 (ordering that Intervenor-Plaintiff serve expert
                          reports on October 2, 2020). (Id. at 2-3).

          Accordingly, the parties’ discussions have resulted in impasse, necessitating court

    involvement.

                                     ARGUMENT AND AUTHORITIES

    I.    THE FEDERAL RULES’ REQUIREMENTS REGARDING DISCLOSURE OF DAMAGES.

          A. Initial Disclosures.

          FED. R. CIV. P. 26(a)(l)(A)(iii) states:

          (a) Required Disclosures.

          (1) Initial Disclosure.

          (A) In General. Except as exempted by Rule 26(a)(l)(B) or as otherwise stipulated
          or ordered by the Court, a party must, without awaiting a discovery request, provide
          to the other parties:

          ***

          (iii) A computation of each category of damages claimed by the disclosing party
          - who must also make available for inspection and copying as under Rule 34 the
          documents or other evidentia1y material, unless privileged or protected from
          disclosure, on which each computation is based, including materials bearing on
          the nature and extent of injuries suffered.

    As explained in WRIGHT & MILLER,

          The third type of disclosure is prescribed by Rule 26(a)(l)(A)(iii), which directs any
          party claiming damages or other monetary relief to provide a computation of those
          damages or other relief and make available all unprivileged documents on which
          such computation is based. The Second Circuit has explained the meaning of this
          requirement:

              [B]y its very terms, Rule 26(a) requires more than providing-without any
              explanation-undifferentiated financial statements; it requires a
              “computation,” supported by documents. The need for computation and
              supporting documents is especially necessary in a case like this, where the
              damages claim is for lost profits from a project of a type with which the
              plaintiff had little-to-no prior experience. [Plaintiff's] “simple arithmetic”
              calculation is wholly inadequate as a measure of damages, given that it is

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               undisputed that, in order to perform on the project [plaintiff] would have
               had to establish an entirely new computer lab and hire all new personnel in
               the space of two weeks.

    § 2053 Initial Disclosure, 8A FED. PRAC. & PROC. CIV. § 2053 (3d ed.) (internal citations omitted)

    (quoting Design Strategy, Inc. v. Davis, 469 F.3d 284, 295 (2d Cir. 2006)). See also FED. R. CIV.

    P. - RULES AND COMMENTARY (Rules 1-49), p. 701 (“Any party claiming damages must provide a

    computation of each category of damages claimed and must make available any discoverable

    materials upon which those calculations are based.”) (citing, among others, Dynegy Marketing &

    Trade v. Multiut Corp., 648 F.3d 506, 514 (7th Cir. 2011) (excluding undisclosed damages

    declaration); Bessemer & Lake Erie R.R. Co. v. Seaway Marine Transport, 596 F3d 357, 367-69

    (6th Cir. 2010) (excluding damages claim as a sanction of failing to provide basis for damages

    either in the initial disclosures or in response to discovery requests); FEDERAL CIVIL RULES

    HANDBOOK (2019), p. 765 (“Each party must provide a computation of any category of damages

    claimed by that party.”); Griffin Indus., Inc. v. Rest. Techs., Inc., No. 3:06CV-444-R, 2008 WL

    11357862, at *6 (W.D. Ky. Dec. 18, 2008) (plaintiff “was in plain violation of Rule 26(a) and (e)

    when it delayed until . . . the final day before [defendant]’s expert witness designation was due, to

    finally reveal its damages calculations.”).

           Recently, both the Western and Eastern Districts of Oklahoma likewise found that Rule 26

    requires more than a general statement of damages. In Campbell v. CSAA Fire & Cas. Ins. Co.,

    No. CV-19-739-R, 2020 WL 3244010, at *1 (W.D. Okla. June 15, 2020), the Western District

    determined that “[i]n a party’s Rule 26(a)(l )(A)(iii) disclosure must state the types of damages

    that the party seeks, must contain a specific computation of each category, and must include

    documents to support the computations” and that “[t]he plaintiff cannot shift to the defendant the

    burden of attempting to determine the amount of the plaintiffs alleged damages.” The Campbell



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    court ordered the plaintiff to provide “the categories of damages he seeks with corresponding

    dollar figures and citations to documents and other evidentiary material on which the entire

    computation is based.” Campbell, No. CV-19-739-R, 2020 WL 3244010, at *3, (citing FED. R.

    CIV. P. 26(a)(l)(A)(iii)) (emphasis added). In Lazy S Ranch Properties, LLC, v. Valero Energy

    Corporation, et. al., No. 19-CV-425-RAW, at 2 (E.D. Okla. June 15, 2020) (copy attached as

    Exhibit I), the Eastern District stated that the plaintiff “should be able to provide an estimated

    computation of each category of the damages claimed.” The Eastern District stated that in order

    satisfy the purposes of Rule 26, “the plaintiff should provide more than a lump sum statement of

    the damages allegedly sustained.” Id. (quoting City & Cty. of San Francisco v. Tutor-Saliba Corp.,

    218 F.R.D. 219, 221 (N.D. Cal. 2003)).

           While there is no hard and fast rule as to exactly what is contemplated regarding details

    required to be provided by the OMC, it must be a meaningful disclosure that provides the

    Defendants with the opportunity to fully evaluate the OMC’s claims.

           “While the rule does not indicate the level of specificity that is required to disclose
           a ‘computation’ properly, courts examining this issue have held that Rule 26(a)(l
           )(A)(iii) ‘requires more than merely setting forth the figure demanded.’” Max
           Impact, LLC v. Sherwood Grp., Inc., No. 09 Civ. 902(JGK)(HBP), 2014 WL
           902649, at *6, 2014 U.S. Dist. LEXIS 30011, at *15 (S.D.N.Y. Mar. 7, 2014)
           (quoting First Nat. Bank of Chicago v. Ackerley Commc’ns, Inc., No. 94 CIVIL
           7539(KTD), 2001 WL 15693, at *6 n. 6, 2001 U.S. Dist. LEXIS 20895, at *18 n. 6
           (S.D.N.Y. Jan. 8, 2001), affd, 28 Fed. Appx. 61 (2d Cir. 2002)). “Rule 26(a)(l)
           contemplates an estimate of damages and ‘some analysis.”' US. Bank Nat’l Ass'n v.
           PHL Variable Ins. Co., Nos. 12 Civ. 681 l(CM)(JCF), 13 Civ. 1580(CM)(JCF),
           2013 WL 5495542, at *5, 2013 U.S. Dist. LEXIS 143398, at *17 (S.D.N.Y. Oct. 3,
           2013) (citation omitted).

    Mikulec v. Town of Cheektowaga, 302 F.R.D. 25, 29 (W.D.N.Y. 2014). Similarly,

           the “computation” of damages required by Rule 26(a)(l)(C) contemplates some
           analysis; for instance, in a claim for lost wages, there should be some information
           relating to hours worked and pay rate. See Bullard v. Roadway Exp., 3 Fed. Appx.
           418, 420 (6th Cir.2001) (unpublished). See also US. v. Rempel, 2001 WL 1572190
           (D.Alaska 2001) at *2 (government required to disclose computation of tax

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           liability, the functional equivalent of damages calculation in a tort case); First Nat.
           Bank of Chicago v. Ackerley Communications, Inc., 2001 WL 15693 at *6, n. 6
           (S.D.N.Y.2001) (calculation of damages requires more than merely setting forth
           figure demanded); Kleiner v. Burns, 2000 WL 19094 70 at *2 (D .Kan.2000)
           (defendant is generally entitled to a “specific computation” of damages). On the
           other hand, disclosing a precise figure for damages without a method of calculation
           may be sufficient in cases where other evidence is developed e.g. in the context of
           a preliminary hearing, and it is appropriate to defer further specification to e.g.
           development of expert testimony. Pine Ridge Recycling v. Butts County, 889
           F.Supp. 1526, 1527 (M.D.Ga.1995); Moore’s Federal Practice, Civil § 26.2 (2003).

    City & Cty. of San Francisco v. Tutor-Saliba Corp., 218 F.R.D. 219,221 (N.D. Cal. 2003).

           The initial disclosures are intended to “accelerate the exchange of basic information about

    the case and to eliminate the paper work involved in requesting such information, and the rule

    should be applied in a manner to achieve those objectives.” FED. R. CIV. P. 26, Comments to 1993

    Amendment.

           Rule 26(a)(1) disclosures are designed to accelerate the exchange of basic
           information, to “help focus the discovery that is needed, and facilitate preparation
           for trial or settlement.” See Advisory Committee Notes to 1993 Amendments to
           Fed.R.Civ.P. 26(a). Initial disclosures should provide the parties “with information
           essential to the proper litigation of all relevant facts, to eliminat[e] surprise, and to
           promot[e] settlement.” Windom v. FM Industries, Inc., 2003 WL 21939033 *2
           (D.Neb.2003) (quoting Rolscreen Co. v. Pella Prods. of St. Louis, Inc., 145 F.R.D.
           92, 94 (S.D. Iowa 1992)).

    Hertzv. LuzenacAm., Inc., No. CIVA04CV1961LTBCBS, 2006 WL 994431, at *5-6 (D. Colo.

    Apr. 13, 2006); see also Campbell, 2020 WL 3244010, at *2 (acknowledging that the requirements

    of Rule 26 work to prohibit a shifting of burden to the defendant in attempting to determine the

    amount of damages claimed); Lazy S. Ranch, LLC, No. 19-CV-425-RA W, at 2, (noting the

    purpose of Rule 26 to “accelerate the exchange of basic information that is needed in most cases

    to prepare for trial or make an informed decision about settlement”) (internal quotations omitted);

    Radtke v. Caschetta, 822 F.3d 571, 575 (D.C. Cir. 2016) (noting the district’s appreciation of “the

    important role Rule 26 plays by mandating early disclosure of damages, thereby enabling the



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    opposing party to decide whether to settle before expending immense resources.”); Mikulec v.

    Town of Cheektowaga, 302 F.R.D. 25, 29 (W.D.N.Y. 2014) (“The purpose of Rule 26 disclosures

    “is to avoid surprise or trial by ambush.”); Lopez v. City of New York, No. 11-CV-2607

    (CBA)(RER), 2012 WL 2250713, at *1 (E.D.N.Y. June 15, 2012); see also Mawby v. United

    States, 999 F.2d 1252, 1254 (8th Cir. 1993) (“We have said that the purpose of our modern

    discovery procedure is to narrow the issues, to eliminate surprise, and to achieve substantial justice.

    The rules are meant to [e]nsure that . . . parties can obtain mutual knowledge of all the relevant

    facts gathered by both parties.” (internal quotations and citations omitted)).

           The OMC is not excused from complying with its initial disclosure obligations due to a

    failure to fully investigate the case. Winfield v. Wal-Mart Stores, Inc., No. 214 CV 01034

    MMDCWH, 2016 WL 1169450, at *3 (D. Nev. Mar. 22, 2016). Rather, parties must “make a

    reasonable inquiry into the facts of the case . . . . one that is reasonable under the circumstances,

    focusing on the facts that are alleged with particularity in the pleadings.” Lintz v. American

    General Finance, Inc., No. Civ.A. 98-2213-JWL, 1999 WL 619045, *3 (D. Kan. 1999).

           Federal Rule of Civil Procedure 37(c)(1) addresses a party’s failure to disclose or

    supplement initial disclosures, providing that, “[i]f a party fails to provide information or identify

    a witness as required by Rule 26(a) or (e), the party is not allowed to use that information or witness

    to supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

    justified or is harmless.” HCG Platinum, LLC v. Preferred Prod. Placement Corp., 873 F.3d 1191,

    1200 (10th Cir. 2017). Failure to disclose the measure of damages alone is sufficient to preclude

    such evidence at trial. Roberts v. Ground Handling, Inc., No. 04-cv-4955, 2007 WL 2753862, at

    *4 (S.D.N.Y. Sept. 20, 2007). The Defendants presently are not requesting such drastic measures.

    In Paycom Payroll, LLC v. Richison, No. CIV-09-488-W, 2011 WL 13112251, at *5 (W.D. Okla.



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    June 8, 2011), Judge West noted that “Rule 37 permits the Court in its discretion to order the

    payment of reasonable expenses, including legal fees, caused by the failure of a party to provide

    certain initial disclosures as required by Rule 26(a), F.R.Civ.P., or to provide supplemental

    disclosures as required by Rule 26(e), supra, to complete or correct a previous incomplete or

    inaccurate response to a request for production.” Defendants request such relief with this Motion.

           B. Interrogatories.

           In the same vein, “[c]ontention interrogatories that seek damage theory and methodology

    information from a plaintiff almost invariably will comport with the requirements of Rules

    26(b)(1) and 33(c) of the Federal Rules of Civil Procedure, seeking as they do, information about

    an inherent element of the claim.”3 United States ex rel. Tyson v. Amerigroup Ill., Inc., 230 F.R.D.

    538, 544 (N.D. Ill. 2005); SPH Am., LLC v. Research in Motion, Ltd., No. 13CV2320 CAB (KSC),

    2016 WL 6305414, at *4 (S.D. Cal. Aug. 16, 2016) (rejecting plaintiff's argument that it was

    unable to respond to interrogatory concerning damages as premature in part because “[u]nder

    plaintiff’s theory, any contention interrogatories seeking information on damages would be

    rendered almost useless as they would not require responses until the eve of the close of

    discovery”); Honeywell Int’l Inc. v. Furuno Elec. Co., No. 09-CV-3601 MJD/TNL, 2013 WL

    2385224, at *4 (D. Minn. May 30, 2013); Nyanjom v. Hawker Beechcraft, Inc., No. 12-1461-JAR-

    KGG, 2014 WL 2135997, at *4 (D. Kan. May 22, 2014) (ordering the Plaintiff, as to a damages

    interrogatory, “to provide any [damages] calculations he may have. Plaintiff is instructed that the

    failure to calculate his damages may make it impossible for him to prove such damages at trial.”);




    3
      This Court recognized the propriety of contention interrogatories—at least that do not seek
    “identif[ication of] all persons with knowledge or all facts or all documents in a complicated
    case”—in United States v. Bridger-Riley, No. 14-CV-654-JHP-FHM, 2015 U.S. Dist. LEXIS
    95996, at *5 & n.4 (N.D. Okla. July 23, 2015) (emphasis in original).
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    Pre-Paid Legal Servs. v. Harrell, No. CIV-06-019-JHP, 2007 U.S. Dist. LEXIS 40789, at *7 (E.D.

    Okla. May 30, 2007) (noting prior “order[] to supplement [the plaintiffs’] interrogatories in regard

    to the [defendants’] request for specific damage calculations, theories, and underlying

    documentation”).

           Accordingly, whether viewed under its initial disclosure obligations under FED. R. CIV. P.

    26(a)(l)(A)(iii) or its interrogatory response obligations under FED. R. CIV. P. 33(b), the result is

    the same: the OMC may not simply provide a general statement of its damages: it must instead

    provide specific damages calculations, theories, and underlying documentation.

    II.    THE OMC’S POSITIONS ON PROVIDING DETAIL ABOUT ITS DAMAGES FAIL.

           The Defendants below set forth (1) each reason that the OMC has recently proffered for

    why it believes it does not need to make a further damages disclosure at this time and (2) explain

    why those assertions are factually and/or legally incorrect.

           The ACIR provides the necessary detail.4 As set forth on pages 3 and 4, supra, the ACIR

    certainly pleads that the OMC alleges that is entitled to damages. What the ACIR does not explain

    is what the OMC’s theory of damages are, how it calculates those damages (or how it would

    calculate those damages), or what additional information is purportedly needed to arrive at a

    damages calculation. All this information is required to be provided, whether under FED. R. CIV.

    P. 26(a)(l)(A)(iii) or FED. R. CIV. P. 33(b), and the Court should order the OMC to do so.

           The OMC’s recent briefing provides the necessary detail.5 To support this allegation,

    the OMC relies upon two statements from recent filings: (i) the OMC’s statement in the July 15,



    4
      This theory, or substantive words to that effect, was relied upon by the OMC’s counsel during
    the July 29, 2020 meet and confer.
    5
      This theory was articulated in the OMC’s August 12, 2020 letter, and it referenced statements in
    the OMC’s portion of the July 13, 2020 Joint Status Report (Dkt. # 166, at 3) and the OMC’s
                                                     13
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    2020 Joint Status Report that “the OMC is also entitled to compensation for damages in an amount

    that will cover the financial harm to the Osage Mineral Estate, and Osage headright holders, from

    the obstruction to oil and gas drilling on the Estate caused by Defendants’ ongoing trespass;” (Dkt.

    # 166, at 3);6 and (ii) the OMC’s statement in its May 27, 2020 Response to the Defendants’ Partial

    Motion to Dismiss stating that the OMC seeks “both monetary damages and equitable relief for

    trespass to Indian lands in order to ‘reimburse the Tribe for the most profitable use of its land.’”

    (quoting United States v. Pend Oreille Pub. Util. Dist. No. 1, 28 F.3d 1544, 1551 (9th Cir. 1994)).

    Neither of these statements says anything about how either category of damages was

    allegedly suffered or is (or will be calculated). The first statement about alleged “obstruction to

    oil and gas drilling” is asserted notwithstanding this Court’s prior findings that:

           21. The court finds no evidence that the Wind Farm’s surface use would prevent
           reasonable access to, and use of, the surface estate by oil and gas lessees. However,
           in the event an actual conflict occurs, the court finds that it can and should be
           resolved by the parties in accordance with their respective obligations under federal
           and state law. In the event a situation arises in which the defendants cannot
           accommodate an oil and gas lessee’s request, the oil and gas industry has the
           ability. . . to work around conflicts by modest adjustments in the form of directional
           drilling or moving the oil and gas wells slightly. . . . If a modest adjustment proves
           to be impossible, the lessee may seek redress of the specific dispute in a court of
           appropriate jurisdiction.




    Response to the Defendants’ Partial Motion to Dismiss the OMC’s Complaint in Intervention (Dkt.
    # 158, at 8).
    6
      Previously, when the Defendants raised the argument that Case No. 11-CV-643-GKF-PJC
    precluded the pursuit of alleged damage from interference with oil and gas operations (Dkt. # 118,
    at 21-22), the OMC replied indicating that it was not pursuing such a theory. (Dkt. # 127, at 9
    n.4). Moreover, the United States’ First Amended Complaint contains no allegation even remotely
    implicating alleged interference to oil and gas drilling, and, in fact, states that “The instant
    Amended Complaint does not concern or make any allegations that concern oil and gas
    development or exploring, severing, capturing or producing oil and gas.” (Dkt. # 20, at 5 n.1,
    emphasis added). Thus, the attempt to pursue this theory is clearly barred by Judge Frizzell’s
    finding that “efficiency in the conduct of the proceedings requires that the remedies sought by
    OMC be limited to those sought by the United States in its First Amended Complaint.” (Dkt. #
    161, at 14, emphasis added).
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           22. Each permanent turbine site will be 70 feet by 70 feet. During construction,
           there will also be a 40 foot by 80 foot temporary pad from which the turbine will
           be erected. Access to the turbine construction site can be staged from any
           direction—including the direction opposite the well site. A drilling rig would need
           roughly 100 feet from the edge of a drilling site to the wellhead, and from there
           drilling activities can typically be staged from any direction. In the event the
           location of a particular drill site is closer than these distances allow, a modest
           adjustment to the drilling schedule or location may solve the conflict.

           23. The Court also finds that if a well location is selected within close proximity to
           a turbine center, or directly on a Wind Farm road or transmission line . . . mineral
           lessees will likely be able to make modest adjustments to the well location. With
           the types of wells to be drilled, the currently available drilling technology, and the
           nature of the geological formations being targeted, a modest adjustment to provide
           the necessary setback from a turbine, or to move off a road or underground
           transmission line, could likely be reasonably accomplished by the mineral lessees.
           The Court finds that such adjustments are well within the capabilities of the mineral
           lessees and that such adjustments are routinely made in the oil and gas industry. In
           the event an actual, non-speculative, conflict develops that prevents a lessee from
           obtaining reasonable access to the surface estate, the law provides recourse.

           24. The Court further finds that the economics of the planned drilling program
           indicate that [the lessee] will likely make necessary adjustments rather than forego
           development. . . . [T]he wells are sufficiently promising that the additional expense
           associated with adjusting the location will not be prohibitive.

           25. As to the oil and gas infrastructure such as flow lines, water lines, and tank
           batteries, the Court finds that any impact from the Wind Farm will be minimal. To
           the extent such infrastructure is buried, it will be at different depths than the
           underground collection lines. [The lessee] can readily bore under Wind Farm roads
           if needed. And if a desired flow line or water line happens to intersect a turbine
           location, only a minor adjustment is necessary to circumnavigate the 16 foot
           diameter of the foundation at the four foot subsurface level. . . . [T]he surface
           impediments in the area, even with the additional Wind Farm facilities, are fewer
           than what oil and gas companies normally encounter in their operations. . . .
           [L]aying subsurface lines in and around the Wind Farm’s collector lines will not
           present a significant obstacle to the lessees. . . . [W]ind farms and oil and gas
           operations can and do co-exist in close proximity to each other, including in
           Oklahoma. . . .

    Osage Nation v. Wind Capital Grp., Ltd. Liab. Co., No. 11-CV-643-GKF-PJC, 2011 WL 6371384,

    at *4-5 (N.D. Okla. Dec. 20, 2011). The Defendants assert that these findings are preclusive of

    the ability to pursue damages in this action for alleged “obstruction to oil and gas drilling.” But



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    even if that were not the case, the OMC has not indicated—in any manner—how it does or will

    compute such damages. And the “reimburse the Tribe for the most profitable use of its land”

    theory is even worse. First, the theory was espoused by the OMC as a basis for it to pursue claims

    for accounting and disgorgement, which Judge Frizzell has found that it may not do.7 (Dkt. # 161,

    at 15 (“Osage Wind’s request to dismiss OMC’s allegations of intentional, willful, or bad faith

    conduct and certain equitable relief—specifically disgorgement of profits, an accounting of ‘all

    revenue attributable to the Osage Wind wind farm operation,’ and unjust enrichment—is

    granted.”). Second, and more fundamentally for purposes of this Motion, the OMC has never

    explained what this “reimbursement” theory would look like, how it could possibly be calculated

    in its view, or what information would be necessary to make such a calculation. All of this is

    required for the Defendants to be able to meaningfully challenge this theory in discovery and to

    be able to retain one or more expert witnesses to refute it on the merits.

             The OMC’s expert report(s) will provide the necessary detail.8 The text of FED. R. CIV.

    P. 26(a)(1)(E) rejects the notion of indefinitely deferring disclosing the mandatory damages

    computation: “A party is not excused from making its disclosures because it has not fully

    investigated the case . . . .” Further, there is no “exception to Rule 26(a)(1) in cases in which

    damages will be proved by experts: the disclosing party still has the responsibility to provide each

    category of required disclosures based on the information it has at the time, and to supplement

    those disclosures as more information is gained.” US Bank Nat’l Ass’n v. PHL Variable Ins. Co.,

    2013 WL 5495542, at *3 (S.D.N.Y. Oct. 3, 2013); Allstate Ins. Co. v. Nassiri, No. 2:08-cv-369,

    2010 WL 5248111, at *4 (D. Nev. Dec. 16, 2010) (“While the precise method of calculation need


    7
     And in any event, United States v. Pend Oreille Pub. Util. Dist. No. 1, 28 F.3d 1544 (9th Cir.
    1994), is inapplicable in this case for the reasons set forth in Dkt. # 159, at 1-2.
    8
        This theory was articulated in the OMC’s August 12, 2020 letter.
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    not be disclosed if it is properly the subject of future expert testimony, this does not relieve the

    plaintiff from providing reasonably available information concerning its damages computation.”);

    Hesco Parts, LLC v. Ford Motor Co., No. 3:02-CV-736-S, 2007 WL 2407255, at *2 (W.D. Ky.

    Aug. 20, 2007) (“[A]lthough the defendants are not entitled to early disclosure of the plaintiff’s

    expert report, the plaintiff’s initial disclosures should provide its executives' assessment of

    damages in light of the information available to them in sufficient detail so as to inform the

    defendants of the contours of their potential exposure.”). In Honeywell Int’l, Inc. v. Furuno Elec.

    Co., No. 09-cv-3601 (MJD/TNL), 2013 WL 2385224, at *4-5 (D. Minn. May 30, 2013), the Court

    rejected the contention by a party that it could simply defer answering an interrogatory seeking

    disclosure of its damages theory pending the provision an expert reports. In so doing, the Court

    specifically noted that the plaintiff “was already required to provide similar information as part of

    its initial disclosures under Rule 26(a).” Id. at *4-5; see also Winfield v. Wal-Mart Stores, Inc.,

    No. 2:14-cv-01034-MMD-CWH, 2016 WL 1169450, at *3 (D. Nev. Mar. 22, 2016) (“[F]uture

    expert analysis does not relieve a plaintiff of the obligation to inquire and report the information

    reasonably available to her at the initial disclosure deadline.”). The problem here is that the OMC’s

    initial disclosures and interrogatory response on damages provide literally no information about

    how it views its theory of damages or how it will be calculated. While perhaps an expert report

    could result in supplementation, the Defendants are entitled right now to an articulation of the

    OMC’s damages theory and what facts and information on which it will be based to allow them to

    meaningfully litigate that theory throughout discovery.

             The Defendants have the information needed.9 As an initial matter, this theory is simply

    wrong. The Defendants believe that the measure of damages must be tied to the value of the rock



    9
        This theory was articulated in the OMC’s August 12, 2020 letter.
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    that was “sorted,” “crushed,” and “exploited . . . as structural support for each wind turbine.”

    United States v. Osage Wind, LLC, 871 F.3d 1078, 1091 (10th Cir. 2017).10 It is clear that the

    OMC disagrees; but it is entirely unclear what additional amount the OMC contends it is entitled

    to and how it will be calculated (even though the OMC has filed pleadings claiming that it has

    been damaged). And in any event, “[t]he plaintiff cannot shift to the defendant the burden of

    attempting to determine the amount of the plaintiff's alleged damages.” Jackson v. UA Theatre

    Circuit, Inc., 278 F.R.D. 586, 593 (D. Nev. 2011). The OMC must, at a minimum, describe what

    its damages theories are in some level of detail (including at least the manner in which they are or

    will be calculated), so that the Defendants may reasonably be about the process of engaging in

    discovery efforts to rebut them. This is especially so since the Defendants will have only about

    two months of discovery after the OMC discloses any expert reports.

    III.   THE COURT SHOULD FIND THAT THE OMC’S ASSERTION OF “EXECUTIVE PRIVILEGE”
           IS IMPROPER AND THAT SUCH A PRIVILEGE IS INAPPLICABLE IN THIS CASE.

           One of the Defendants’ key theories of defense is that the arguments advanced in this

    litigation were advanced too late in time and were, in fact, part of the OMC’s and Osage Nation’s

    (the “Nation”) years-long quest to veto the Project on any conceivable grounds, giving rise to a

    number of equitable defenses that particularly apply to the sought injunction against the Project’s

    existence.   To that end, communications between and among the OMC and the Nation

    demonstrating these facts are essential. The OMC has objected to providing such communications

    on the basis of an “executive privilege” it claims is created by Osage Nation Code, tit. 15 ch. 8 §

    8–104 (a)(5, 11), and the OMC has currently withheld two documents on this basis. But the issue

    is of far greater import, because numerous OMC members will be subject to deposition in this case



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      The Defendants have produced all known information in their possession, custody, and control
    about that issue.
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    (and about these precise communications). And “[a] person may instruct a deponent not to answer

    only when necessary to preserve a privilege . . . .” FED. R. CIV. P. 30(c)(2). Thus, the question of

    whether this purported privilege applies in this case is of significant import, and should be decided

    by the Court as early as possible and in a definitive way.

            A. The Cited Provision of the Osage Nation Code Does Not Create an Evidentiary
               Privilege.

            As a preliminary matter, Osage Nation Code, tit. 15 ch. 8 § 8–104 (a)(5, 11) does not, in

    any event, provide a privilege from discovery or testimony. It is part of the Osage Nation’s Open

    Records Act. (See Osage Nation Code, tit. 15 ch. 8, copy attached as Exhibit J). The Eastern

    District of Oklahoma considered a very similar claim based upon the similarly worded Oklahoma

    Open Records Act in Am. Commerce Ins. Co. v. Harris, No. CIV-07-423-SPS, 2008 WL 3456848

    (E.D. Okla. Aug. 8, 2008). There, the Oklahoma Insurance Department sought to preclude

    discovery of a file that Oklahoma statutory law provided “shall be confidential and shall not be

    subject to the Oklahoma Open Records Act.” Id. at *1. The Court, however, concluded that “while

    the file clearly is confidential, i. e., protected from disclosure to the public upon request, . . . it is

    not protected from discovery by any evidentiary privilege.” Id. (emphasis added). The cited

    provision of the Osage Nation Code is indistinguishable from the Oklahoma Open Records Act

    provisions at issue in Harris, and this Court should similarly find that the statute confers no

    privilege in federal discovery., And, since the records are only “confidential” and not privileged,

    general concerns about confidentiality of documents may be addressed by the Amended Stipulated

    Protective Order (Dkt. # 146).11



    11
      It is the Federal Rules of Civil Procedure, rather than any statute of a state or tribal government,
    which governs discoverability of information in this case. See, e.g., Pruett v. Erickson Air-Crane
    Co., 183 F.R.D. 248, 251 (D.Or. 1998); Mason v. United States, 486 F. Supp. 2d 621, 625
    (W.D.Tex. 2007); Pantages v. Cardinal Health 200, Inc., No. 5:08-cv-116-Oc-10GRJ, 2009 WL
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           B. Common Law Does not Afford any Executive Privilege to the OMC or the Nation.

           While it is not clear, the OMC may claim that an “executive privilege” arising from

    common law also protects its communications with the Nation. Not so. Privilege is governed by

    FED. R. EVID. 501, which provides:

           The common law — as interpreted by United States courts in the light of reason
           and experience — governs a claim of privilege unless any of the following provides
           otherwise:

           the United States Constitution;

           a federal statute; or

           rules prescribed by the Supreme Court.

           But in a civil case, state law governs privilege regarding a claim or defense for
           which state law supplies the rule of decision.

           The last provision “incorporates the doctrine” of Erie. In re Grand Jury Investigation, 918

    F.2d 374, 379 n.6 (3d Cir. 1990). Since jurisdiction in this case is not based upon diversity, Erie—

    and thus that clause—are inapplicable. Moreover, no provision of the United States Constitution,

    a federal statute, or a rule prescribed by the United States Supreme Court provides executive

    privilege to the OMC and/or the Nation. The question thus is whether federal common law does.

           Federal common law does recognize an executive privilege.12 Cheney v. U.S. District

    Court, 542 U.S. 367, 382-89 (2004); United States v. Nixon, 418 U.S. 683, 705 (1974). The

    privilege so recognized does not extend beyond communications by, with, or at the direction of




    1011048 (M.D. Fla. Apr.15, 2009); Hilderman v. Enea TekSci, Inc., No. 05CV 1049 BTM(AJB),
    2010 WL 143440, at *3 (S.D. Cal. Jan. 8, 2010); Funcat Leisure Craft, Inc. v. Johnson Outdoors,
    Inc., CIV. NO. S-06-0533 GEB GGH, 2007 WL 273949 (E.D. Cal. Jan. 29, 2007).
    12
      This privilege is an evidentiary privilege, when it applies and would thus provide a basis to
    withhold and decline to answer discovery. The privilege discussed in Davis v. Littell, 398 F.2d
    83, 84 (9th Cir. 1968)—on which the OMC has recently relied—is a privilege from liability for
    defamation, not an evidentiary privilege.
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    the President of the United States. See, e.g., Fish v. Kobach, No. 16-2105-JAR-JPO, 2017 WL

    1929010, at *5 (D. Kan. May 10, 2017) (“By its terms, Nixon does not extend the privilege to

    presidents-elect.”).13

            Courts analyzing the question of whether the privilege applies to a Native American tribe

    have answered in the negative based upon this rationale. In Miccosukee Tribe of Indians of Florida

    v. U.S., No. 12-cv-22638-UU, 2013 WL 7728831, at *9 (S.D. Fla. Feb. 11, 2013), a Tribe cited

    executive privilege in resisting the United States’ efforts to discover communications between the

    Chairman of the General Council of the Tribe and his advisors. The court rejected the Tribe’s

    claim of executive privilege on three grounds. First, “the Tribe provides no legal authority for the

    proposition that the executives of Indian tribes enjoy the same executive privileges as the

    President, and the Court has located no such authority after a diligent search.” Id. Second, the

    Tribe’s attempt to invoke the executive privilege “wholly ignores the constitutional framework

    that delineates the powers of the three federal branches of the government and affords the President

    of the United States the prerogatives that form the basis of the President’s executive privilege.” Id.

    at *9. “In short, the Supreme Court’s precedents on executive privilege offer no suggestion that

    the Court’s analysis of Presidential privilege is intended to apply to other executives of sovereign

    bodies. To the contrary, the Supreme Court has advised that ‘[e]xecutive privilege is an

    extraordinary assertion of power not to be lightly invoked.’” Id. (quoting Nixon, 433 U.S. at

    48). Third, the court held that even if the Tribe were entitled to the same executive privileges as



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       There is a separate deliberative process privilege under federal law. But the OMC did not assert
    that privilege in any manner, and its potential applicability has been waived as result. Moreover,
    that privilege “does not protect ‘communications made subsequent to an agency decision.’”
    Redland Soccer Club v. Dep't of the Army, 55 F.3d 827, 854 (3d Cir. 1995) (quoting United States
    v. Farley, 11 F.3d 1385, 1389 (7th Cir. 1993)). The Defendants’ discovery requests at issue in this
    Motion are time limited to a period of time after the OMC and the Nation had made the decision
    to oppose the Project and had publicly communicated that opposition.
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    the President, it would compel production of the documents requested by the United States, “[i]n

    light of the public’s clear interest in enforcing federal tax laws[.]” Id. at *10.

           United States v. Billie, 611 Fed. Appx. 608, 609 (11th Cir. 2015), is a related proceeding

    involving the IRS’ investigation into whether the Miccosukee Tribe had distributed more than

    $300 million in casino revenue without complying with reporting and withholding

    requirements. The IRS issued an administrative summons against Colley Billie, the Chairman of

    the General Council of the Tribe, seeking both the production of documents and the Chairman’s

    appearance for questioning. See id. The United States initiated an action in federal court to

    enforce the summons, and the Tribe’s General Council subsequently passed a resolution denying

    authority for the release of records. Id. at 610. The Chairman cited the Tribe’s newly-passed

    resolution as a reason for not producing the requested documents. Id. Billie framed the issue as

    follows: “[w]hether tethered specifically to the blocking resolution or asserted more generally as

    a type of immunity inherent in tribal sovereignty, the question on appeal asks simply whose laws

    are superior and therefore controlling: those of the United States or those of the Tribe.” Id. at

    611. In holding that the United States’ laws are superior, Billie relied on Societe Nationale

    Industrielle Aerospatiale v. U.S. Dist. Ct. for the S. Dist. of Iowa, 482 U.S. 522, 544 (1987), in

    which the Supreme Court held that a French statute which blocked the production of certain

    records did not “deprive an American court of the power to order a party subject to its jurisdiction

    to produce evidence even though the act of production may violate that statute.” See also supra

    note 12. Billie has been summarized by courts as “citing Aerospitale when analyzing the district

    court’s authority to order a party under its jurisdiction to produce documents, though the party

    alleges that the order would violate Native American tribal law.” Burrow v. Forjas Taurus S.A.,

    No. 16-21606-Civ-TORRES, 2017 WL 2620067, at *3 (S.D. Fla. June 16, 2017).



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           The Court should accordingly follow these authorities and find that there is no executive

    privilege arising under tribal law that permits the OMC to withhold otherwise discoverable

    documents in this case.14

           C. Even if the Executive Privilege Applied, The OMC Has Not Properly Invoked It.

           To properly invoke the executive privilege, “the privilege must be claimed by the head of

    the applicable agency after actual personal consideration by that officer.” Smith v. Fed. Trade

    Com., 403 F. Supp. 1000, 1016 (D. Del. 1975) (citing United States v. Reynolds, 345 U.S. 1, 7-8

    (1953)). Here, there is no indication that the OMC has followed this process with respect to the

    documents it has withheld (or not searched for) based upon its purported claim of executive

    privilege. It appears the claim was made only by counsel, which is not sufficient.

           D. The Court Should In Any Event Find the Executive Privilege Does Not Apply to
              Communications About the Project.

           Even if it otherwise applied, and it does not, the Court should still find that the Defendants

    may obtain discovery—whether through the interrogatories and requests for production at issue in

    this Motion or through deposition inquiry—of communications between and among the OMC and

    the Nation about the Project and their opposition to it. The executive privilege is a “qualified

    privilege and can be overcome if the party seeking discovery shows sufficient need for the

    otherwise privileged material, with the court required to balance the litigant’s need for the

    disclosure against the government's need for secrecy.” Hinsdale v. City of Liberal, Case No. 96-




    14
      It bears noting that the OMC is not even part of the executive branch of the Osage Nation. The
    Executive Branch of the Nation is established by Article VII of the Osage Nation Constitution,
    which prescribes a number of different offices and departments. The OMC, however, is a separate
    agency, established under a different provision of the Osage Nation Constitution.
    Communications involving the OMC—as do all documents and information at issue in this
    Motion—necessarily do not involve the Nation’s chief executive or his close advisors in a
    privileged and confidential manner.
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    1249-FGT, 1997 WL 557314, at *1 (D. Kan. Aug. 27, 1997). Here, the Defendants critically need

    to obtain the OMC’s internal communications (and communications with the Nation) to

    demonstrate the manner and context in which the theories espoused in this case came to be to

    demonstrate numerous of their defenses, as well as to present relevant equitable considerations

    when the Court weighs the equities as it must to consider both Plaintiffs’ requests for injunctive

    relief. The evidence is not available elsewhere, and is years old in any event (not bearing on any

    current confidential governmental efforts).

                                                CONCLUSION

           The OMC chose to intervene as a plaintiff in this case. That means that it is subject to the

    Federal Rules of Civil Procedure and the Federal Rules of Evidence. Those Rules require it to

    provide a computation of damages and to produce evidentiary material showing how those

    computations were determined. The OMC has made only the vaguest and broadest descriptions

    of its damages (and even those were in court filings, not discovery responses). The OMC must do

    more, even if an expert will ultimately testify about some aspects of its damage claims. And no

    executive privilege applies under federal law to the OMC’s communications about the Project at

    issue in this case. The executive privilege that can apply to the federal executive branch has not

    been properly invoked by the OMC in any event and should not foreclose communications about

    the Project even if it could apply generally.

           The Court should order the OMC to provide detail and computations of its damages and

    find that no executive privilege applies in this case.




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                                                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on August 18, 2020, I electronically transmitted the attached Document
    to the Clerk of the Court using the ECF System for filing. Based on the electronic records currently
    on file, the Clerk of the Court will transmit a notice of Electronic Filing to the following ECF
    registrants:

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    The following non-ECF registrants have been served by First Class United States mail:

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